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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                           10/2/20


  United States of America,

                 –v–
                                                                   04-CR-603 (AJN)
  Juan Garcia,
                                                                        ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:

       As of the date of this Order, the Court has not received Defendant’s reply to the

Government’s September 17, 2020 opposition to his motion for compassionate release, see Dkt.

No. 234. If Defendant wishes to file a reply, he may do so by October 14, 2020. The Clerk of

Court is respectfully directed to mail a copy of this Order and of the Government’s Opposition,

Dkt. No. 234, to the Defendant and to note that mailing in the public docket.

       SO ORDERED.


 Dated: October 1, 2020
        New York, New York
                                                 ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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